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IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES ()F AMERICA, *

v. * CASE NO. 19-mj-0063
CHRISTOPHER PAUL HASSON, "“'

Defendant.' *

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During further proceedings'in this matter, no person may possess or transport into
Courtroom 2A any electronic devices, to include cellular telephones, cameras, recording devices
of any type including “smart” watches and “smart” pens, and/or computers, to include laptops
and tablets, without the express permission of the presiding judge This restriction shall
not apply to employees of the United States District Court for the District of Maryland, the
United States Marshal or his Deputies, Court Security Ofiicers, counsel of record in this case,
employees of state and federal law enforcement agencies, and/or investigators and employees
of counsel representing parties in the case, provided those investigators and employees of
counsel are identified to the Court in advance. All persons subject to this Order are advised not

to bring any such electronic devices to the courthouse.
The United States Marshal, his Deputies, and the Court Security Ofiicers shall enforce

this Order.

Date: F/-/g~'Z{i?"O/%`l 00-»-- %’3/~“¢£\

J ames I’(. Bredar, Chief Judge
United States District Court

 

